                                               United States Bankruptcy Court
                                                  District of New Mexico
In re:                                                                                                     Case No. 17-10498-j
Kathryn Ramona Esquibel                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1084-1                  User: cwilson                      Page 1 of 1                          Date Rcvd: May 31, 2019
                                      Form ID: pdfor1                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 02, 2019.
               +John Sexton,   3502 33rd Circle,   Rio Rancho, NM 87124-1931

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 02, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 31, 2019 at the address(es) listed below:
              Alice Nystel Page    on behalf of Plaintiff    United States Trustee Alice.N.Page@usdoj.gov
              Benjamin A. Jacobs    on behalf of Trustee Yvette J. Gonzales bjacobs@askewmazelfirm.com,
               askewmazellawfirm@gmail.com;edmazel@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos
               @askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Daniel Andrew White    on behalf of Trustee Yvette J. Gonzales dwhite@askewmazelfirm.com,
               askewmazellawfirm@gmail.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewma
               zeladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              David Alton Kelly    alton@kgeenergy.com
              Edward Alexander Mazel    on behalf of Trustee Yvette J. Gonzales edmazel@askewmazelfirm.com,
               dwhite@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewmaze
               ladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Edward Alexander Mazel    on behalf of Plaintiff    Yvette J. Gonzales edmazel@askewmazelfirm.com,
               dwhite@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewmaze
               ladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Jacqueline Ortiz     on behalf of Plaintiff    Yvette J. Gonzales jortiz@askewmazelfirm.com,
               maryvallejos@askewmazelfirm.com;ericanunez@askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;
               jarratt@askewmazelfirm.com
              Jacqueline Ortiz     on behalf of Trustee Yvette J. Gonzales jortiz@askewmazelfirm.com,
               maryvallejos@askewmazelfirm.com;ericanunez@askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;
               jarratt@askewmazelfirm.com
              James A Askew   on behalf of Trustee Yvette J. Gonzales jaskew@askewmazelfirm.com,
               ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;agarcia@askewmazelfirm.com;askewmaz
               eladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Michael K Daniels    on behalf of Plaintiff Martin Lopez mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels    on behalf of Creditor    Estate of Nancy Richards mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels    on behalf of Creditor    Merrie Chappell Law, PC mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels    on behalf of Creditor    Martin Lopez, III, PC mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Richard Wieland     on behalf of U.S. Trustee    United States Trustee richard.wieland@usdoj.gov
              Richard Wieland     on behalf of Plaintiff    United States Trustee richard.wieland@usdoj.gov
              United States Trustee    ustpregion20.aq.ecf@usdoj.gov
              Wesley O Pool   on behalf of Defendant Kathryn Ramona Esquibel wesley@poollawfirm.com,
               mike@poollawfirm.com
              Wesley O Pool   on behalf of Debtor Kathryn Ramona Esquibel wesley@poollawfirm.com,
               mike@poollawfirm.com
              Yvette J. Gonzales    yjgllc@yahoo.com, yg@trustesolutions.net
                                                                                              TOTAL: 19


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                                                              IT IS ORDERED
                                                              Date Entered on Docket: May 31, 2019




                                                              ________________________________
                                                              The Honorable Robert H Jacobvitz
                                                              United States Bankruptcy Judge

______________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

  In re:

  KATHRYN RAMONA ESQUIBEL,                                                    Case No. 17-10498-j7
                                                                              Chapter 7
           Debtor.

  ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO APPROVE MOTION TO
    APPROVE SETTLEMENT BETWEEN CHAPTER 7 TRUSTEE, DEBTOR, JOHN
            SEXTON, DAVID KELLY, AND MARTIN LOPEZ III, P.C.

           This matter came before the Court upon Yvette J. Gonzales, the Chapter 7 Trustee’s (the

  “Trustee’s”) Chapter 7 Trustee’s Motion to Approve Settlement Between Chapter 7 Trustee,

  Debtor, John Sexton, David Kelley, and Martin Lopez III, P.C., filed May 3, 2019 (Doc. No. 123)

  (the “Motion”). The Court, having been sufficiently advised on the premises, hereby FINDS:

           A.     On March 3, 2017 (the “Petition Date”), Kathryn Ramona Esquibel (“Esquibel”)

  commenced the above-captioned bankruptcy case (the “Bankruptcy Case”) by filing a voluntary

  petition for relief under Chapter 7 of Title 11 of the United States Bankruptcy Code. The Trustee

  was appointed as the chapter 7 trustee for this case;




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         B.       As is described in greater detail in the Motion, on May 30, 2017, the Trustee filed

  a Complaint against John Sexton (“Sexton”), initiating adversary proceeding number 17-01042-j

  styled Yvette J. Gonzales, Chapter 7 Trustee of the Bankruptcy Estate of Kathryn Ramona Esquibel

  v. John Sexton (the “Fraudulent Transfer Adversary Proceeding”). In the Fraudulent Transfer

  Adversary Proceeding, the Trustee sought to avoid, preserve, and recover the value of real property

  located at 260 S. 6th Street, Santa Rosa, NM 88435 (the “Property”). The Property was transferred

  prior to the Petition Date by Esquibel to Sexton, her brother. During the litigation, Sexton

  transferred the Property to David Kelly (“Kelly”), and Kelly sought and received Court permission

  to intervene as a defendant;

         C.       On June 2, 2017, Martin Lopez III, P.C. (“Lopez”) and Merrie Chappell filed an

  Objection to Discharge against Esquibel, initiating adversary proceeding number 17-01045 styled

  Martin Lopez and Merrie Chappell v. Kathryn R. Esquibel (the “Discharge Adversary

  Proceeding”).     Plaintiff Merrie Chappell was dismissed from the Discharge Adversary

  Proceeding, leaving Lopez as the sole plaintiff. See Stipulated Order Dismissing Merrie Chappell

  as Party Plaintiff (Doc. No. 24 in the Discharge Adversary Proceeding). In the Discharge

  Adversary Proceeding, Lopez sought to deny Esquibel’s discharge in the Bankruptcy Case under

  certain subsections of 11 U.S.C. § 727(a);

         D.       On July 10, 2017, Lopez filed Claim No. 8 in the Bankruptcy Case in the amount

  of $24,065.54. On April 23, 2018, Kelly objected to Claim No. 8 by filing the Notice of and

  Objection to the Creditor Claim of Martin Lopez III and Request for Hearing (Doc. No. 33 in the

  Bankruptcy Case) (the “Claim Objection”);




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         E.      In the Motion, the Trustee, requested Court permission to approve the settlement

  among Trustee, Esquibel, Sexton, Kelly and Lopez (collectively, the “Parties”). Pursuant to the

  settlement agreement the parties agreed as follows:

                 1.      Within fifteen (15) days of Court approval of the settlement agreement,

  Kelly shall execute and deliver to the Trustee a quitclaim deed for the Property;

                 2.      Within seven (7) days of Kelly’s delivery of the quitclaim deed to the

  Trustee, the Trustee will dismiss the Fraudulent Transfer Adversary Proceeding with prejudice;

                 3.      Kelly shall have a one (1) year exclusive right to purchase the Property from

  the Trustee for the lesser of (i) 75% of the Appraised Value (as defined on page 3 of the Settlement

  Agreement as defined below) of the Property, or (ii) $85,000.00, payable in cash at closing;

                 4.      Kelly has the exclusive right to rent the Property from the Trustee at a rate

  of $500.00 per month during the same one year period he has to purchase the Property and shall

  be responsible for all maintenance, utilities, and taxes related to the Property during his occupancy;

  and

                 5.      In the event Kelly does not close on the purchase of the Property during his

  one year exclusive right to purchase the Property from the Trustee, there will be a Court order

  requiring Kelly and Esquibel to vacate the Property, and Kelly and Esquibel agree to vacate the

  Property on or before the expiration of the one year exclusivity period;

                 6.      Kelly agrees to withdraw with prejudice his Claim Objection. Sexton and

  Esquibel each agree not to file any further objections to Lopez’s claim;

                 7.      Kelly agrees to withdraw the claims he has purchased and/or was transferred

  in the Bankruptcy Case, which are Claim Nos. 5, 6, and 7;




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                 8.      The Parties agree that Kelly and/or Esquibel reserve their right to pay any

  unpaid amounts to holders of allowed claims in the Bankruptcy Case should the Trustee’s

  distribution not pay all claims in full. In the event Kelly and/or Esquibel fail and/or refuse to pay

  the unpaid amounts to holders of allowed claims in the Bankruptcy Case, Esquibel agrees to waive

  entry of her discharge; and

                 9.      Esquibel agrees that if the Trustee’s distribution from the bankruptcy estate

  does not fully satisfy Lopez’s claim in the amount of $24,065.54, she agrees to pay the difference

  between the face amount of the claim of $24,065.54 and the distribution received by Lopez from

  the bankruptcy estate. Upon receipt of payment of Lopez’s entire claim, Lopez agrees to dismiss

  the Discharge Adversary Proceeding; and

                 10.     The Trustee and Lopez on the one hand and Kelly, Sexton and Esquibel on

  the other enter into a mutual release of claims against the other;

         F.      On May 29, 2019, the Trustee filed a Notice of Errata, pursuant to which the formal

  settlement agreement (the “Settlement Agreement”) was attached as Exhibit A (Doc. No. 125);

         G.      On May 3, 2019, the Trustee served notice of filing the Motion (the “Notice”),

  pursuant to Bankruptcy Rules 9019 and 2002, to all creditors and other parties in interest as shown

  on the mailing matrix maintained by the Court, specifying an objection period of twenty-one (21)

  days from the date of mailing, plus (3) days based upon service by mail, for a total of twenty-four

  (24) days;

         H.      On May 3, 2019, the Trustee filed the Notice with the Court (Doc. No. 124);

         I.      The Notice was appropriate in the particular circumstances;

         J.      The objection deadline, including three days added under Bankruptcy Rule 9006(f),

  expired on or before May 28, 2019;




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         K.       No objections to the Motion were filed, timely or otherwise;

         L.       The Motion is well taken and should be granted as provided herein; and

         M.       The Settlement Agreement is fair and equitable, and is in the best interest of and

  beneficial to the Debtor’s estate and creditors and should be approved.

         IT IS HEREBY ORDERED as follows:

         1.       The Motion is granted.

         2.       The Settlement Agreement is approved.

         3.       Within fifteen (15) days of entry of this Order, Kelly shall execute and deliver to

  the Trustee a quitclaim deed for the Property.

         4.       Within seven (7) days of Kelly’s delivery of the quitclaim deed to the Trustee, the

  Trustee shall dismiss the Fraudulent Transfer Adversary Proceeding with prejudice.

         5.       The Claim Objection is hereby deemed withdrawn with prejudice.

         6.       Claim Nos. 5, 6 and 7 are hereby deemed withdrawn.

                                     ####END OF ORDER####

  Submitted by:

  ASKEW & MAZEL, LLC

  By: s/ submitted electronically
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      Jacqueline N. Ortiz
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Copies to:

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Rio Rancho, NM 87124

David Kelly
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Santa Rosa, NM 88435




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